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 9
10                               UNITED STATES DISTRICT COURT

11                                      DISTRICT OF NEVADA

12 UNITED STATES OF AMERICA,                         )
                                                     )
13                 Plaintiff,                        )
                                                     ) Case No. 2:12-CR-004-APG-(GWF)
14          v.                                       )
                                                     )
15 FREDRICK THOMAS,                                  )
                                                     )
16                 Defendant.                        )
                                                     )
17

18         UNOPPOSED MOTION TO CONTINUE THE FORFEITURE HEARING AND THE
                              SENTENCING AND ORDER
19                  (FIRST CONTINATION OF FORFEITURE HEARING)
20          The United States of America, by and through Daniel G. Bogden, United States Attorney for the

21 District of Nevada, and Daniel D. Hollingsworth, Assistant United States Attorney, respectfully moves

22 this Court to continue the forfeiture hearing and sentencing hearing because (1) HSI Special Agent

23 Michael Adams will be out of the state on a work assignment from September 8 through September 17,

24 2014, and counsel for Frederick Thomas would like the agent to be at the hearing; (2) the undersigned

25 counsel will be out of the state on a work assignment from September 22 through September 26, 2014,

26 and is scheduled to be out of the state on a work assignment from October 14 through October 17, 2014;




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 1 and (3) the forfeiture hearing should be “sufficiently in advance of sentencing to allow the parties to

 2 suggest revisions or modifications before the order becomes final as to the defendant under Rule

 3 32.2(b)(4).” Fed. R. Crim. P. 32.2(b)(2)(B). The forfeiture hearing is currently scheduled September 9,

 4 2014, and the sentencing hearing is currently scheduled for October 9, 2014.

 5           The grounds are as follows.

 6           On September 4, 2014, defendant’s counsel requested a continuance of the forfeiture hearing on

 7 September 9, 2014, so that HSI Special Agent Michael Adams would be present for the forfeiture

 8 hearing. The agent has a work assignment out of state from September 8 through September 17, 2014,
 9 which would prevent defense counsel from calling the agent as a witness at the forfeiture hearing. The

10 undersigned counsel has also listed his work assignments out of state and must be at the forfeiture

11 hearing and the sentencing hearing regarding the forfeiture.

12           The government agrees with defense counsel to continue the forfeiture hearing and the sentencing

13 hearing to later dates. This Court should, if at all possible, enter the preliminary order of forfeiture

14 “sufficiently in advance of sentencing to allow the parties to suggest revisions or modifications before the

15 order becomes final as to the defendant under Rule 32.2(b)(4).” Fed. R. Crim. P. 32.2(b)(2)(B). The

16 government requests the forfeiture hearing and the sentencing hearing be continued to a time available to

17 the court and the parties of this case.

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 1         This motion is not submitted solely for the purpose of delay or for any other improper purpose.

 2         This Court should grant the unopposed motion to continue the forfeiture hearing and the

 3 sentencing hearing.

 4         DATED: September 5th, 2014.

 5                                                         DANIEL G. BOGDEN
                                                           United States Attorney
 6

 7                                                         /s/ Daniel D. Hollingsworth
                                                           DANIEL D. HOLLINGSWORTH
 8                                                         Assistant United States Attorney
 9

10   IT IS HEREBY ORDERED the Forfeiture Hearing in this matter is continued to October 9, 2014 at 10:30 a.m.,

11   Courtroom 6C. IT IS FURTHER ORDERED the Sentencing
                                                   IT ISis SO
                                                           continued to November 13, 2014 at 10:30 a.m.,
                                                              ORDERED:
12   Courtroom 6C.

13
                                                           UNITED STATES DISTRICT COURT
14
                                                           DATED: September 5, 2014
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